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11                        IN THE UNITED STATES DISTRICT COURT
12                              FOR THE DISTRICT OF ARIZONA
13
      United States of America,                                 CR-13-1607-PHX-SRB
14
                            Plaintiff,               GOVERNMENT’S RESPONSE TO PRE-
15                                                      SENTENCE INVESTIGATION
               vs.                                     REPORT AND POSITION WITH
16                                                       RESPECT TO SENTENCING
                                                             OF DEFENDANT
17    Jean Baptiste Kingery,                             JEAN BAPTISTE KINGERY
18                          Defendant.
19          Plaintiff United States of America, by and through its counsel of record, the Office
20   of the United States Attorney for the Center District of California, hereby files this response
21   to the Pre-Sentence Investigation Report and Position with Respect to Sentencing of
22   Defendant Jean Baptiste Kingery.
23          This response to the Pre-Sentence Investigation Report and Position with Respect
24   to Sentencing of Defendant Jean Baptiste Kingery are based on the attached
25   ///
26   ///
27   ///
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1    Sentencing Memorandum, the files and records of this case, the Pre-Sentence Investigation
2    Report, and any argument or evidence presentenced at the sentencing hearing in this matter.
3           Respectfully submitted this 9th day of September 2016,
4                                              LORETTA E. LYNCH
                                               United States Attorney General
5                                              EILEEN M. DECKER
                                               United States Attorney
6                                              Central District of California
7
                                                 /s/
8                                              Annamartine Salick
                                               William A. Crowfoot
9                                              Special Attorneys

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1          I.        INTRODUCTION
2          Defendant Jean Baptiste Kingery (“defendant”) attempted to export 114 hand
3    grenade components and approximately 2,500 rounds of ammunition concealed in a spare
4    tire of a vehicle defendant sought to drive from the United States to Mexico. Defendant
5    later admitted that he intended to supply the grenades and ammunition to members of an
6    illegal drug cartel in Mexico and that he had repeatedly smuggled weapons into Mexico.
7    For that, a sentence of 60 months’ imprisonment, three years of supervised release, and a
8    $100 mandatory special assessment, is a just punishment for defendant’s single count of
9    conviction for violating Title 22, United States Code, Sections 2778(b)(2) and 2778(c),
10   and Title 22, Code of Federal Regulations, Sections 121.1, 123.1, and 127.1.
11         II.       FACTUAL BACKGROUND
12                   A.   Initial Investigation of Defendant
13          Defendant came to the attention of the Bureau of Alcohol, Tobacco, Firearms, and
14   Explosives (“ATF”) in November 2008 after defendant made suspicious firearms
15   purchases of seven AK-47 type rifles in Tucson, Arizona. (Pre-Sentence Investigation
16   Report (“PSR”) ¶ 5). On December 5, 2008, ATF Special Agents interviewed defendant
17   regarding the suspicions purchases and defendant admitted making the purchases but
18   stated that seven AK-47 type rifles were not in his possession. (Id.). Defendant claimed
19   that the rifles were instead in the possession of a friend who resided in Indian Country. 1
20   (Id.). Defendant agreed to show the firearms to the Special Agents on December 8, 2008,
21   however, when the agents returned, defendant was not present, and defendant’s mother
22   advised that defendant may have gone to Mexico. (Id.). The Special Agents attempted to
23   contact defendant by telephone without success; defendant failed to return the ATF’s
24   calls. (Id.).
25
26   1
      On October 14, 2011, defendant admitted that he had lied to federal agents regarding the
27   whereabouts of the firearms. This conduct formed the basis of Count Three of the
     Indictment, which charged defendant with making a materially false statement, in violation
28   of 18 U.S.C. § 1001. (CR 8 (“Indictment”); see also ATF 76 ROI). The government has
     agreed to move the Court to dismiss that count at the time of sentencing. (Plea Agrt. ¶ 3.c)

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1                   B.     Defendant Found During a January 2009 Search
2            On or about January 21, 2009, ATF Special Agents, accompanied Yuma Police
3    Department detectives, went to defendant’s sister’s residence in Somerton, Arizona, in
4    order to speak with her about defendant. (Id. ¶ 6). After knocking, the detectives and
5    agents looked through a window and observed defendant. (Id.). A search warrant was
6    then obtained and the Special Agents recovered multiple weapons and other items
7    including marijuana, drug paraphernalia, and the following firearms: one Romarm, model
8    PSL 54C, AK 47 type, 7.62x39 caliber rifle, SN# K297679; one Ratmil, model WUM2,
9    AK 47 type, 5.45x39 caliber rifle, SN# 30217397; one Norinco, model 56S, AK 47 type,
10   7.62x39 caliber rifle, SN# 517288; one FN, model F.A.L., .308 caliber rifle, SN# 1352;
11   and one Glock, model 23, .40 caliber pistol, SN# AUS561US. (Id.). Agents also saw
12   several AK-47 parts kits, de-milled AK-47 upper receivers, AK-47 barrel assemblies,
13   trigger assemblies, magazines, ammunition, manuals, and a variety of tools including a
14   large metal press. (Id.). Defendant was not arrested. (Id.).
15                  C.     Defendant Purchases Inert Hard Grenades
16           In October 2009, the ATF learned that a military surplus store in New York
17   received an order for 120 inert hand grenade bodies 2 by a person named “Jeane
18   Kingsley” with an address associated with defendant. (Id. ¶ 7). Over the next several
19   months, the ATF learned that from approximately 2009 to 2010, defendant purchased
20   thousands of grenade parts from various online suppliers using a variety of aliases. (Id.).
21                  D.     Defendant Attempts to Transport Grenades and Ammunition to
                           Mexico
22
             On June 15, 2010, acting on a “be-on-the-lookout” notice posted by the ATF,
23
     Customs and Border Protection (“CBP”) Officers stopped defendant as he attempted to
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     drive a 2003 Chevrolet Tahoe across the border into Mexico at the San Luis, Arizona,
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     port of entry. (Id. ¶ 9). Defendant’s sister was a passenger in the vehicle. During a
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         Grenade bodies are also known as “hulls” or “shells.”

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1    subsequent search of the vehicle, agents located: 114 inert grenades and parts
2    (specifically MK II Grenade Shells, M 67 Grenade Shells, M 61 Grenade Shells, M213
3    Detonating Fuse, and M228 Detonating Fuse); and approximately 2,504 rounds of
4    ammunition (specifically Winchester .45 Caliber 230 FMJ Ammunition, Part #Q4170,
5    and Speer Lawman .380 Caliber Ammunition, Part #53608). (Id.).
6           The seized ammunition is and was a defense article or a controlled munition under
7    Category III of the United States Munitions List (“USML”). (CR 68 (“Plea Agrt.”) ¶ 10).
8    The seized grenade shells are and were defense articles under Category IV(h) of the
9    USML. (CR 8 (“Indictment”)). United States law prohibits the export of defense articles
10   outside the United States without an export license issued by the United States
11   Department of State’s Directorate of Defense Trade Controls. (Plea Agrt. ¶ 10).
12   Pursuant to the factual basis specified in the plea agreement, defendant admitted that at
13   the time of the offense, he knew it was illegal to export the ammunition concealed in his
14   tire without a license and that he did not apply for or obtain a license to export the
15   ammunition. (Id.; see also PSR ¶ 16).
16          When questioned, defendant admitted that he was attempting to smuggle the
17   grenades and ammunition into Mexico and intended to provide the items to members of
18   the Sinaloa Drug Cartel. (PSR ¶ 10). Defendant admitted to knowing it was illegal to
19   export ammunition and firearms; defendant claimed that he did not know it was illegal to
20   export the grenade parts. (Id.). Defendant also admitted to providing the seven rifles
21   purchased in 2008 to illegal drug cartels in Mexico. (Id.). Defendant spoke with ATF
22   agents several more times in 2010 until defendant disappeared and was believed to have
23   fled to Mexico. (Id. ¶ 11). In one meeting, defendant admitted to purchasing hundreds of
24   grenade parts and estimated that he had earned approximately $25,000.00 for all of the
25   grenades he had purchased and smuggled into Mexico. 3 (See ATF 38 ROI).
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27   3
       As noted below, the government concurs in the factual findings in the PSR. The
28   government supplements those with additional facts and cites to investigative reports
     previously provided to the USPO.

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1                  E.     Defendant is Arrested in Mazatlán, Mexico
2           On August 31, 2011, Mexican Federal Police, assisted by ATF personnel, arrested
3    defendant in Mazatlán, Sinaloa, Mexico, and executed a search warrant at his residence.
4    (PSR ¶ 12). Defendant attempted to flee arrest and, in doing so, rammed his vehicle into
5    several other vehicles. (Id.). During the search, Special Agents observed grenade spring
6    kits, camouflage paint, military-style duffel bags, and electronics. (Id.).
7           Following his arrest, defendant agreed to speak with ATF Special Agents. (Id.).
8    Defendant admitted to smuggling grenades into Mexico and to assisting the cartels in
9    remanufacturing the grenades to function more efficiently. (Id.). Defendant was flown to
10   Mexico City, where he continued to speak with the Special Agents, and advised that he
11   was attracted to the money and the lifestyle but that the “trigger” was the murder of a
12   friend in Mexico in 2009. (Id.). Defendant admitted to smuggling other items into
13   Mexico, including firearms receivers, bullet-proof vests and plats, tools for working on
14   firearms, and electronics. (Id.). Defendant also admitted that he illegally smuggled
15   marijuana into the United States from Mexico. (Id.). Defendant advised that he knew the
16   grenades he purchased in the United States would be transported to Mexico and was 90%
17   sure that they would be remanufactured into live grenades. (See ATF 76 ROI)
18          Defendant remained in Mexican custody following his August 2011 arrest.
19   PSR ¶ 13. In December 2013, Mexico executed a Provisional Arrest Warrant based on a
20   criminal complaint and arrest warrant obtained in the District of Arizona on October 19,
21   2011. (Id. ¶ 13; see also CR 3 (“Criminal Complaint”)). Defendant was extradited to the
22   United States on September 30, 2015. (PSR ¶ 13).
23         III.   PROCEDURAL HISTORY
24          Defendant was indicted on November 20, 2013 in a three-count Indictment in the
25   District of Arizona. (CR 8 (“Indictment”)). Specifically, defendant was charged with
26   attempting to violate the Arms Export Control Act, in violation of
27   22 U.S.C. §§ 2778(b)(2) and 2778(c), and 22 C.F.R. §§ 121.1, 123.1, and 127.1;
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1    smuggling goods from the United States, in violation of 18 U.S.C. § 544(a); and making
2    a materially false statement to federal law enforcement officers, in violation of 18 U.S.C.
3    § 1001.
4           On September 30, 2015, defendant was extradited to the United States and made
5    his initial appearance in the District of Arizona. (PSR ¶ 13). On May 9, 2016, defendant
6    plead guilty to a written Plea Agreement to Count One of the Indictment. (CR 68). In the
7    Plea Agreement, the government has agreed to move the Court to dismiss Counts Two
8    and Three at the time of sentencing. (Plea Agrt. ¶ 3.c).
9           The United States Probation Office (“USPO”) disclosed the PSR and its
10   Sentencing Recommendation on July 20, 2016. The government concurs with the
11   USPO’s factual finding. For the reasons stated below, the government does not agree
12   with the USPO’s recommendation to apply a one-level upward departure. Pursuant to the
13   terms of the Plea Agreement and for the reasons discussed below, the government
14   submits that a sentence of 60 months’ imprisonment, which is three months above the
15   high end of the applicable Guidelines range, is a fair and just sentence to account for
16   defendant’s career as an illegal weapons smuggler operating in the United States and
17   Mexico.
18         IV.    GOVERNMENT’S SENTENCING POSITION AND
                  RECOMMENDATION
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           The recommended sentence of 60 months’ imprisonment, three years of supervised
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     release, and a $100 mandatory special assessment, is sufficient, but not greater than
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     necessary, to address the factors set forth in 18 U.S.C. § 3553(a)(2). The factors set forth
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     in § 3553(a) are addressed below.
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1                  A.    Sentencing Guideline Calculation
2          In the Plea Agreement, the parties agreed to the following sentencing factors:
3    Base Offense Level:                       26         U.S.S.G. § 2M5.2
4    Acceptance of Responsibility:             -3         U.S.S.G. §§ 3E1.1(a) & 3E1.1(b)
5    Total Offense Level:                      23
6    (Plea Agrt. 12). These calculations are supported by the facts discussed above, in the
7    Plea Agreement, and in the PSR. These and other applicable factors are addressed below.
8                          1.    Acceptance of Responsibility (§ 3E1.1)
9          At the time of sentencing, if defendant continues to demonstrate an acceptance of
10   responsibility for the offense up to and including the time of sentencing, the government
11   will recommend a reduction totaling three-levels pursuant to § 3E1.1 (Plea Agrt. ¶ 13).
12                         2.    USPO’s      Recommended         One-Level   Upward     Departure
13                               (§ 5K2.21)
14         The USPO recommends a one-level upward departure, pursuant to § 5K2.21 for
15   Dismissed and Uncharged Conduct, to offense level 24. (Sentencing Recommendation at
16   14). Specifically, the USPO explains that defendant’s “history of repeated involvement”
17   in smuggling weapons into Mexico and his “relationships with the drug cartels” warrants
18   a one-level upward departure. (Id.).
19         Viewing the same underlying facts considered by the USPO--defendant’s repeated
20   smuggling and doing so for the purpose of supplying cartels--the government
21   recommends that the Court rely upon those facts to vary from the Guidelines range based
22   upon the § 3553(a) factors, but not apply the departure under the Guidelines
23   recommended by the USPO. The government does not agree with the recommended one-
24   level departure because § 5K2.21 applies to dismissed or uncharged charges. Thus, the
25   departure does not fit the facts of the present case where the aggravating facts relate to
26   conduct similar to the charged conduct, not distinct conduct that was dismissed or
27   uncharged as a result of the plea agreement.
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1          The government submits that the defendant’s history as a weapons smuggler is
2    appropriately addressed by a variance. These facts go to the nature and circumstances of
3    the offense and defendant’s history and characteristics (§ 3553(a)(1)) where defendant
4    engaged in these specific instances of smuggling as part of a pattern of conduct.
5    Accordingly, and consistent with the Plea Agreement, the government recommends the
6    Court impose a sentence of 60 months’ imprisonment based on the factors in 18 U.S.C.
7    § 3553(a), which is three months above the high end of the applicable Guidelines range.
8                          3.    Guidelines Range
9    A total offense level of 23 is obtained using the following:
10   Base Offense Level:                      26         USSG. § 2M5.2
11   Acceptance of Responsibility:            -3         USSG. § 3E1.1(a) & § 3E1.1(b)
12   Total Offense Level:                     23
13         With a criminal history category of Category I (PSR ¶ 32), the Guidelines yield an
14   advisory range of 46 to 57 months.
15                 B.    Nature and Circumstances of the Offense
16         The nature and circumstances of the offense are detailed at length above and warrant
17   the recommended sentence, including the variance of three months recommended by the
18   government. Where defendant willfully attempted to illegally smuggle more than 2,500
19   rounds of ammunition from the United States to Mexico, intended to supply the
20   ammunition, and the inert grenades defendant concealed in a spare tire with the
21   ammunition, to drug cartels in Mexico, and admitted to carrying out a lucrative smuggling
22   business for multiple years, the nature and circumstances of the offense speak for
23   themselves and warrant a significant term of impressment. Based on these facts, the
24   government recommends that the Court impose a term of imprisonment of 60 months,
25   which includes a three-month variance above the applicable Guidelines range of 46 to 57
26   months.
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1                     C.   History and Characteristics of Defendant
2           Defendant ran an illegal smuggling business for many years transporting highly
3    lethal and destructive weapons in Mexico. By defendant’s own admission, defendant
4    knowingly provided destructive devices for multiple years to associates of drug cartels and
5    admitted to advising his associates on ways to repurpose the weaponry he provided to
6    function more efficiently. Defendant’s claim that he was diagnosed with various mental
7    health problems in 2012, if credited, does not mitigate defendant’s conduct in 2010. 4
8    Defendant repeatedly demonstrated a callous disregard of the foreseeable death and
9    destruction his actions were likely to have caused. Therefore, the history and
10   characteristics of defendant justify the recommended sentence.
11                    D.   Seriousness of the Offense, Respect for the Law, Adequate
                           Deterrence, and Just Punishment
12
13          Although charged with and having plead guilty to a single count of attempting to
14   violate the Arms Export Control Act, in violation of 22 U.S.C. §§ 2778(b)(2) and
15   2778(c), and 22 C.F.R. §§ 121.1, 123.1, and 127.1, defendant was engaged in a multi-
16   year smuggling operation transporting highly destructive weapons to drug cartels in
17   Mexico. Defendant’s conduct is extremely serious and a significant term of
18   imprisonment followed by the maximum period of supervised release is necessary to
19   promote respect for the law, and to deter defendant himself and others. The
20   recommended sentence is both just and commensurate with defendant’s conduct and will
21   deter others who may contemplate doing the same.
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27            It should be noted that during his interview with the USPO, defendant denied a
     history of illegal drug use, although an ATF report provided to the USPO details an incident
28   wherein defendant was detained reentering the United States and admitted to being under
     the influence of alcohol and cocaine. (PSR ¶ 47).

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                   E.     Protecting the Public and the Need to Provide Defendant with
1                         Training or Correctional Treatment
2          Defendant’s conduct endangered civilian and law enforcement communities in this
3    country and in Mexico. Defendant has no current employment prospects and may require
4    mental health and/or substance abuse treatment. The recommended term of incarceration
5    followed by a three-year period of supervised release will serve both to protect the public
6    and address defendant’s need for professional training and treatment.
7                  F.    Kinds of Sentencing Available and Policy Considerations
8          For a single count of conviction for attempting to violate the Arms Export Control
9    Act, in violation of 22 U.S.C. §§ 2778(b)(2) and 2778(c), and 22 C.F.R. §§ 121.1, 123.1,
10   and 127.1, defendant may be sentenced to up to 10 years in prison. Pursuant to the terms
11   of the Plea Agreement, the parties stipulated that at the time of the offense conduct, a
12   violation of 22 U.S.C. §§ 2778(b)(2) and 2778(c), and 22 C.F.R. §§ 121.1, 123.1, and
13   127.1, was punishable by a maximum term of imprisonment of 10 years.
14   (Plea Agrt. ¶ 4(a)). (The statute was amended effective July 1, 2010, which increased the
15   maximum penalty to twenty years’ imprisonment. Pub. L. 111-195 (July 1, 2010).) A
16   sentence of one-half the maximum sentence of imprisonment available, to be followed by
17   the maximum period of supervised release available, is warranted here because defendant
18   engaged in very serious criminal conduct for a prolonged period of time.
19                 G.     Need to Avoid Sentencing Disparities
20         Section 3553(a)(6) is designed to avoid disparities in sentences between any one
21   defendant and other defendants in other cases and in other districts. The recommended
22   sentence falls three months above what the government submits are the applicable
23   Guidelines, and appropriately accounts for defendant’s history of repeatedly smuggling
24   weapons into Mexico. Such a sentence is reasonable in light of these facts and, taking
25   into account the other factors and considerations set forth herein, is likely to avoid a
26   disparity with other defendants and other cases nationwide.
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1         V.   CONCLUSION
2         For the foregoing reasons, the government respectfully submits that an appropriate
3    sentence for defendant is 60 months’ imprisonment, three years of supervised release, and
4    a $100 mandatory special assessment.
5          Respectfully submitted this 9th day of September, 2016,
6                                             LORETTA E. LYNCH
                                              United States Attorney General
7                                             EILEEN M. DECKER
                                              United States Attorney
8                                             Central District of California
9                                               /s/
                                              Annamartine Salick
10                                            William Crowfoot
                                              Special Attorneys
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1                                 CERTIFICATE OF SERVICE
2    I hereby certify that on the 9th day of September, 2016, I electronically transmitted the
     attached document to the Clerk's Office using the CM/ECF System for filing a copy to
3    the following CM/ECF registrant:
4    Joy Bertrand Esq.
     Attorney for the Defendant
5
     / s/                          _
6    Annamartine Salick
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